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 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK


 EXPRESS GOLD CASH, INC.,

                              Plaintiff,
                                                                       1:18-cv-837
                                                     Civil Action No.: _________________
               -vs-

 BEYOND79, LLC d/b/a                                 COMPLAINT
 SELLYOURGOLD.COM,                                   AND JURY DEMAND

                              Defendant.


       Plaintiff Express Gold Cash, Inc. (“ExpressGoldCash”), by its attorneys, Leclair

Korona Cole LLP, for its Complaint against defendant Beyond79, LLC d/b/a

SellYourGold.com (“Defendant”), alleges as follows:

                                NATURE OF THE ACTION

       1.     This is an action for false advertising, deceptive business practices, unfair

competition, and unjust enrichment arising from Defendant’s false and misleading advertising

and marketing campaign for its mail-in precious metals buying service offered to consumers

in New York and throughout the United States.

       2.     Since at least 2011 and continuing into the present, Defendant has misleadingly

advertised that it is “Ranked #1 by NBC’s Today Show” based on an outdated televised

segment broadcast nearly 8 years ago, which claimed to have found that Defendant offered the

highest price based on a single attempt to sell gold to ten mail-in precious metals dealers.

       3.     Since 2011, Defendant has orchestrated a multi-pronged marketing campaign

to disseminate false and misleading statements about being “Ranked #1” while actively

concealing or falsifying the original broadcast date of the television show.


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       4.     Defendant has used its own website, paid internet search results, targeted online

ads, YouTube, social media accounts, and print materials to bombard consumers and flood

the marketplace with false and misleading advertisements about it being “Ranked #1.”

       5.     Defendant has used the world-famous NBC brand and logo to attract

consumers to a company not associated with NBC and to induce consumers to falsely believe

that the company is associated with, or endorsed by, NBC.

       6.     As a result, Defendant deceives consumers into believing it is communicating

recent, as opposed to eight-years-old, results of a rigorous “ranking” by NBC.

       7.     In addition, Defendant has published false and misleading photographs on its

website that grossly exaggerate the kind, quality, and quantity of recently purchased items.

       8.     As a result, Defendant deceives consumers into believing that their items are

worth more than they really are, and consumers are induced to send their valuables to

Defendant for appraisal.

       9.     From there, instead of offering 90% of market value as reported on the 2010

television show or the prices depicted on the website, Defendant extends significantly lower

offers to unsophisticated consumers who rely on Defendant’s deceptions.

       10.    Defendant directly competes with plaintiff ExpressGoldCash in New York and

elsewhere. As a result, in addition to causing injury to consumers, Defendant’s false and

misleading advertising campaign results in the direct diversion of sales and decreased

goodwill associated with the competing services offered by ExpressGoldCash.

       11.    By this lawsuit, ExpressGoldCash seeks to (i) enjoin Defendant from making

any further false and misleading claims about its services; (ii) require Defendant to issue

corrective advertising; and (iii) recover monetary damages for the harm sustained by


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Defendant’s false and misleading claims.

                                         THE PARTIES

       12.     Plaintiff ExpressGoldCash is a New York corporation having its primary place

of business at 100 Main Street, Suite 14, Salamanca, New York 14779.

       13.     Defendant Beyond79, LLC d/b/a SellYourGold.com is a Delaware limited

liability company with its principal place of business at 6421 Congress Avenue, Suite 110,

Boca Raton, Florida 33487.

                   SUBJECT MATTER JURISDICTION AND VENUE

       14.     This Court has subject matter jurisdiction over this action pursuant to the

Lanham Act, 15 U.S.C. § 1125(a), and 28 U.S.C. §§ 1331 and 1332. This Court has

supplemental jurisdiction over the related state law claims pursuant to 28 U.S.C. § 1367(a).

       15.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) in that

Defendant is subject to personal jurisdiction in this District at the time this action was

commenced and a substantial part of the events or omissions on which the claims in this

action are based occurred in this District. Venue is also proper in this District pursuant to 28

U.S.C. § 1391(c) because Defendant is deemed to reside in this District.

                                PERSONAL JURISDICTION

       16.     This Court has personal jurisdiction over Defendant pursuant to N.Y. C.P.L.R.

§§ 302(a)(1), 302(a)(3)(i) and 302(a)(3)(ii).

       17.     Defendant has purposefully projected itself into New York to engage in the

sustained and substantial transaction of business and has engaged in an ongoing regular

course of conduct in New York.

       18.     Defendant advertises itself as a nationwide mail-in precious metals dealer,


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states that it has paid over $18,000,000 to customers, and has over 1,800 online reviews from

customers throughout the nation, including New York.

       19.    Defendant does not maintain any storefront locations in the United States.

Instead, Defendant conducts its business by mail order and internet transactions through a

highly interactive website, located at www.sellyourgold.com.

       20.    Defendant actively solicits and purchases items from customers in New York.

Defendant’s website specifically targets its activities in New York by inviting users to order

appraisal kits using an online form that displays New York as one of the 50 states in a

dropdown list. Defendant transmits services to users across the nation and in New York,

where ExpressGoldCash operates in direct competition with Defendant.

       21.    Defendant’s website provides information, permits access to electronic

communication with a live customer service representative, describes the services offered by

Defendant, and invites consumers to complete an online registration form to obtain an

appraisal kit to get started. Registered users receive an email from Defendant containing login

credentials to access an online portal on the website where they can track appraisal status,

download documents, and update personal information.

       22.    Defendant processes transactions and markets its services nationwide and to

New York customers via US mail, electronic mail, telephonic communications, and live

online chats. Defendant mails promotional materials and prepaid shipping labels to customers

with New York delivery addresses, and responding customers use these shipping labels to

mail their items to Defendant for appraisal. Defendant sends emails to New York customers

responding to their questions and concerns, welcoming them to the appraisal process,

providing them with login credentials and a downloadable version of the appraisal kit, and


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reminding them to send items for appraisal. Defendant engages in telephonic

communications and live online chats with New York customers to complete transactions,

facilitate returns, answer questions, and process appraisal kit requests.

       23.    Defendant uses pay-per-click advertising, ad retargeting, YouTube and social

media sites to flood the online marketplace with advertisements that attract customers across

the nation, including New York.

       24.    Defendant has used the above-referenced means of communication to

purposefully direct false advertising and deceptive conduct in New York, resulting in

competitive harm to ExpressGoldCash.

                                FACTUAL ALLEGATIONS

I.     The Mail-in Precious Metals Industry

       25.    Mail-in precious metals dealers allow ordinary consumers to sell their precious

metals and jewelry without leaving their homes. These consumers often do not know the true

value of their items and have little or no experience selling them online.

       26.    A participating customer typically visits a website found through an internet

search and requests a free appraisal kit from a mail-in precious metals dealer. The dealer mails

the appraisal kit to the customer. The customer uses the enclosed prepaid shipping label in the

kit to send items for appraisal to the dealer. The customer receives an offer for the items and

can accept or decline it. If the customer is not satisfied with the appraisal, the items are

returned to the customer free of charge.

       27.    Since 2010, there has been a significant decline in the number of mail-in

precious metals dealers. Currently, Defendant and ExpressGoldCash are two of the top

remaining competitors in the industry. Upon information and belief, Defendant leads the


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industry in market share and ExpressGoldCash is in second place.

II.    The Today Show Segment

       28.       The Today Show (“Today”) is a nationally televised morning show that airs on

the NBC network.

       29.       In 2010, Today aired a segment wherein it claimed to have compared the prices

offered by ten different mail-in precious metals dealers by mailing a single item of gold to

each one (hereinafter, the “Today Segment”).

       30.       Based on this single round of mailings, Today claimed that it received the

highest offer from Defendant. According to the Today Segment, Defendant offered 90% of

market value.

III.   Defendant Has Falsely Represented the Today Segment and Recently Purchased
       Items in its Advertising, to the Public’s and ExpressGoldCash’s Detriment

       31.       Defendant has unlawfully disseminated false and misleading statements about

the Today Segment in a concerted internet and print advertising campaign.

       32.       Defendant has published variations of an advertisement that it is “ranked [or

rated] #1 on [or by] NBC’s Today Show,” concealed or failed to prominently display the 2010

broadcast date, and misrepresented the content of the Today Segment (the “Deceptive

Advertising”).

       33.       The Deceptive Advertising includes the exhibits attached hereto and every

other instance where Defendant has claimed it is “ranked [or rated] #1 [on or by] NBC’s

Today Show” or used similar language.

       34.       Beginning in 2011 and continuing into the present, Defendant has aggressively

employed the Deceptive Advertising, concealed and fabricated the original broadcast date,

and exploited NBC’s goodwill to convey the false impression that Defendant is currently and

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actually “ranked #1” by Today; that Today and NBC currently endorse, or have ever endorsed

Defendant; that Today’s findings were based on a comprehensive and rigorous evaluation of

multiple factors rather than price offered for a single sale; that Today’s findings were based on

a larger than actual sample size; and Today’s findings relate to all types of precious metals and

jewelry—not just gold.

       35.     By doing so, Defendant has grossly misrepresented the quality of its services

with the intent to induce consumers and divert business from its competitors, including

ExpressGoldCash.

                    Defendant’s Deceptive Advertising on the Internet

       36.     Beginning in 2011 and continuing into the present, Defendant has disseminated

the Deceptive Advertising on the internet in an effort to mislead consumers.

       37.     Defendant established and controls an interactive website that serves as the

primary avenue for customers to request appraisal kits. Currently, the website

(www.sellyourgold.com) prominently displays the Deceptive Advertising on its homepage

and in other locations. The website relies on visitors to scroll down and locate the original

broadcast date of the Today Segment. Defendant published this version of the website in

response to ExpressGoldCash’s ongoing complaints.

       38.     True and accurate screenshots of the homepage and other Deceptive

Advertising published on Defendant’s website as of July 2018 are provided in Exhibits A and

B, respectively.

       39.     The website also allows visitors to chat live with a customer service

representative. The live chat session can appear after a visitor clicks to expand the live chat

window or it can appear automatically while a visitor is browsing the website. The activation


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of a live chat session is accompanied by the sound of three tones that are reasonably identical

to the famous three tones used by NBC to identify its broadcasting service.

       40.       In prior versions of the website published since 2011, Defendant published the

Deceptive Advertising in a variety of false and misleading ways, including but not limited to

the following:

                 a. Embedding an auto-playing shortened version of the Today Segment in

                    close proximity to the Deceptive Advertising;

                 b. Entirely omitting the original broadcast date of the Today Segment;

                 c. Falsifying the original broadcast date to deceive consumers into believing

                    that the Today Segment aired more recently than 2010; and

                 d. Publishing the NBC logo without NBC’s permission.

       41.       Archived screenshots of the Deceptive Advertising in prior versions of the

website are provided in Exhibit C.

       42.       In 2015, Defendant published a YouTube video of the shortened Today

Segment. At least as early as 2015 and continuing into the present, Defendant has published

the Deceptive Advertising on its YouTube page in a number of false and misleading ways,

including but not limited to the following:

                 a. Displaying the Deceptive Advertising in YouTube’s search results and in the

                    title and description of the video;

                 b. Falsely stating in the description that Today “investigated dozens of Cash

                    for Gold Companies” when, in fact, the Today Segment concerned only ten

                    companies;

                 c. Omitting the original broadcast date of the Today Segment, and only


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                  recently adding it to the bottom of the collapsible description in response to

                  ExpressGoldCash’s ongoing complaints; and

              d. Disabling the comments section of the video.

       43.    True and accurate screenshots of the Deceptive Advertising published on

YouTube as of July 2018 are provided in Exhibit D.

       44.    Defendant has published the Deceptive Advertising, without reference to the

original broadcast date, in paid internet advertisements in a number of false and misleading

ways, including but not limited to the following:

              a. Enlisting Google AdWords, Yahoo!, and other “pay-per-click” providers to

                  cause the Deceptive Advertising to appear as the top internet search result

                  for searches related to selling gold online. True and accurate screenshots of

                  the Deceptive Advertising published in the search results of Google and

                  Yahoo! as of July 2018 are provided in Exhibit E.

              b. Enlisting ad retargeting services to cause the Deceptive Advertising to

                  appear in visual, clickable ads on other internet sites. True and accurate

                  screenshots of the Deceptive Advertising published on other internet sites

                  as of 2018 are provided in Exhibit F.

       45.    Upon information and belief, since at least as early as 2014 and continuing into

the present, Defendant has published the Deceptive Advertising in paid internet

advertisements.

       46.    Upon information and belief, at least as early as 2014 and continuing into the

present, Defendant has published the Deceptive Advertising, without reference to the original

broadcast date, on its social media accounts and on consumer review websites.


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       47.    True and accurate screenshots of the Deceptive Advertising published on social

media and a consumer review website are provided in Exhibit G.

                           Defendant’s Deceptive Advertising in
                          Direct Communications with Customers

       48.    Each year, Defendant mails thousands of appraisal kits to customers. The

appraisal kits contain a brochure, welcome letter, and prepaid shipping label.

       49.    Upon information and belief, at least as early as 2014 and continuing into the

present, Defendant has published the Deceptive Advertising in its appraisal kits and in follow-

up emails to customers.

       50.    Defendant publishes the Deceptive Advertising on the outer envelope, the cover

of the brochure, the inside of the brochure, and in the welcome letter.

       51.    True and accurate photographs of the Deceptive Advertising in appraisal kit

materials as of June 2018, January 2018, and July 2017 are provided in Exhibit H.

       52.    Additionally, Defendant currently publishes the NBC logo on the outer

envelope without NBC’s permission. Until 2018, Defendant also published the NBC logo on

the cover of the brochure. Applicable photographs are included in Exhibit H.

       53.    Defendant publishes the Deceptive Advertising in automated welcome emails

and reminder emails to participating customers. The reminder emails additionally contain a

hyperlink to the YouTube video alongside the Deceptive Advertising.

       54.    True and accurate copies of the welcome and reminder emails as of June 2018

and July 2017 are provided in Exhibit I.

       55.    The emails and appraisal kit materials do not reference the original broadcast

date of the Today Segment.



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                            Defendant’s Deceptive Advertising in
                                Newspapers and Classifieds

       56.     At least as early as 2012, Defendant published the Deceptive Advertising,

without reference to the original broadcast date, in newspapers and classified ads throughout

the country. Examples of these ads are provided in Exhibit J.

                         Defendant’s False and Misleading Statements
                              About Recently Purchased Items

       57.     In addition to the Deceptive Advertising, Defendant’s website displays stock

photographs allegedly depicting its “latest payouts” to customers. These photographs are

meant to attract customers and encourage them to order appraisal kits.

       58.     The stock photographs are false and misleading because they grossly exaggerate

the kind, quality and quantity of recently purchased items even though the captions state that

the photographs “depict items of similar kind, quality and quantity to actual items

purchased.”

       59.     Screenshots of the falsely represented “latest payouts” as of July 2018 are

provided in Exhibit K.

IV.    Defendant Has Exploited Consumers

       60.     Upon information and belief, based on online customer reviews, Defendant has

lured consumers into sending their items by publishing the Today Segment and the Deceptive

Advertising.

       61.     Participating customers, many of whom are first-time sellers who do not know

the true value of precious metals, send their items for appraisal under the false impression

that they are transacting with an NBC-endorsed precious metals dealer that offers the highest

payouts in the industry.


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       62.     Upon information and belief, based on online customer reviews, Defendant has

a practice of offering prices that are substantially below market value, with the expectation

that many of these offers will be accepted by unsophisticated sellers.

       63.     Upon information and belief, based on online customer reviews, many of these

customers accept Defendant’s low initial offers without negotiation or discussion.

       64.     If a customer seeks the return of items sent to Defendant for “appraisal,” the

customer must call Defendant within 48 hours of the initial offer and speak directly to

Defendant’s representative to decline it.

       65.     While Defendant cites security reasons for this company policy, upon

information and belief, based on online customer reviews, this additional communication is

used as a means to convince the customer to accept an amount substantially below market

value for the items while those items remain in Defendant’s possession.

       66.     Upon information and belief, based on online customer reviews, Defendant

delays the shipment of customer returns, which results in follow-up telephone calls from

customers and additional opportunities for Defendant to induce acceptance.

                             FIRST CLAIM FOR RELIEF
                               False Adver tising Under
                            Lanham Act , 15 U.S.C. § 1125(a)

       67.     ExpressGoldCash realleges and incorporates paragraphs 1 through 66 and

incorporates them by reference herein.

       68.     Defendant, in connection with services rendered in interstate commerce has

made and continues to make false statements of fact and false representations of fact as to the

nature, characteristics, and quality of its services.

       69.     Defendant’s false statements of fact and false representations of fact in


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promoting its services are false and misleading in violation of Section 43(a) of the Lanham

Act, 15 U.S.C. § 1125(a).

       70.    Defendant’s false and misleading statements of fact and misrepresentations of

fact concerning its services were made, and continue to be made, in commercial advertising,

promotions, and direct communications with consumers in a manner material to the public’s

decision to use Defendant’s services instead of those of its competitors, including

ExpressGoldCash.

       71.    Defendant’s false and misleading statements are commercial advertisements

and promotional materials that Defendant has placed into interstate commerce in connection

with the marketing of its services.

       72.    The above-described acts of Defendant actually deceived, or have the tendency

to deceive, a substantial segment of consumers who see or hear such representations.

       73.    The above-described acts of Defendant are material, in that they are likely to

influence a consumer’s purchasing decision.

       74.    ExpressGoldCash directly competes with Defendant in the mail-in precious

metals industry.

       75.    As a result of Defendant’s false and misleading advertising, ExpressGoldCash

has suffered a direct diversion of customers to Defendant and has been and will be deprived

of substantial revenue in an amount to be determined at trial but believed to be no less than

$3 million.

       76.    Defendant has caused, and will continue to cause, immediate and irreparable

injury to ExpressGoldCash, including injury to its business, reputation and good will, for

which there is no adequate remedy at law. As such, ExpressGoldCash is entitled to an


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injunction under 15 U.S.C. § 1116 restraining Defendant, its agents, employees,

representatives and all persons acting in concert with them from engaging in further acts in

violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a) and ordering removal of

all of Defendant’s false advertising.

       77.     ExpressGoldCash is entitled under 15 U.S.C. § 1117 to actual damages to be

determined at trial, to have such damages trebled, to disgorgement of Defendant’s profits, and

costs of the action.

       78.     Defendant has acted in bad faith and has knowingly, willfully, and deliberately

engaged in false advertising with the intent to deceive the public and injure its competitors,

including ExpressGoldCash.         Thus, in addition to the           relief   requested   herein,

ExpressGoldCash is entitled to reasonable attorney’s fees pursuant to 25 U.S.C. § 1117(a).

                          SECOND CLAIM FOR RELIEF
                         Deceptive Acts and Practices U nder
                        New York General Business Law § 349

       79.     ExpressGoldCash realleges and incorporates paragraphs 1 through 78 and

incorporates them by reference herein.

       80.     Since at least 2012, Defendant has engaged in a consumer-oriented pattern and

practice aimed at the public at large of falsely advertising its services.

       81.     Consumers have suffered injury in that Defendant has materially misled

unsophisticated consumers by luring them through false and misleading advertising and

inducing them into unknowingly accepting significantly low offers based on, among other

things, the erroneous belief that Defendant is currently endorsed or approved by NBC as being

the best option for selling precious metals and jewelry online.

       82.     As a result of Defendant’s acts, ExpressGoldCash, as a competitor of


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Defendant, has suffered and will continue to suffer damages to its business reputation and

goodwill and the loss of customers.

       83.     Defendant’s conduct is willful, because it knows that the false and misleading

representations about the Today Segment and its recent payouts are materially false.

       84.     The above-described acts constitute deceptive acts and practices, in violation of

Section 349 of the New York General Business Law.

                          THIRD CLAIM FOR RELIEF
                            False Adver tising Under
                       New York General Business Law § 350

       85.     ExpressGoldCash realleges and incorporates paragraphs 1 through 84 and

incorporates them by reference herein.

       86.     As described above, Defendant has engaged in false advertising under the

Lanham Act and ExpressGoldCash has been thereby injured.

       87.     Consumers have actually and reasonably relied on Defendant’s false

advertising.

       88.     The above-described acts constitute false advertising in violation of Section 350

of the New York General Business Law.

                           FOURTH CLAIM FOR RELIEF
                               Unfair Competition

       89.     ExpressGoldCash repeats and realleges paragraphs 1 through 88 and

incorporates them by reference herein.

       90.     As described above, Defendant has acted in bad faith and has knowingly,

willfully, and deliberately engaged in the above-described false advertising and deceptive acts

and practices, with the intent to injure ExpressGoldCash and deceive the public.

       91.     Defendant has damaged ExpressGoldCash by engaging in false advertising and

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other deceptive acts and practices by, among other things, causing customers to offer their

items to Defendant instead of ExpressGoldCash, thereby reducing ExpressGoldCash’s

market share.

                                FIFTH CLAIM FOR RELIEF
                                    Unj ust Enrichment

       92.       ExpressGoldCash repeats and realleges paragraphs 1 through 91 and

incorporates them by reference herein.

       93.       Defendant has received significant revenue from transactions with consumers

who relied on Defendant’s false statements and representations described above.

       94.       Defendant would not have made these transactions or received the revenues

from these transactions in the absence of the false and misleading statements alleged herein.

       95.       Defendant’s revenues from its falsely advertised services have come at the

expense of its competitors, including ExpressGoldCash.

       96.       Defendant has been unjustly enriched from its false and misleading statements

and advertising practices, and should not be permitted to retain those ill-gotten gains.

                                      PRAYER FOR RELIEF

       WHEREFORE, ExpressGoldCash respectfully requests judgment against Defendant

as follows:

              A. For injunctive relief:

                       i. Enjoining Defendant from displaying the Deceptive Advertising and

                           making false and misleading statements about the Today Segment and

                           recently purchased items;

                       ii. Requiring Defendant to issue appropriate corrective advertisements,

                           reasonably designed to reach all people to whom its false and

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                misleading advertising was disseminated, and retracting its false and

                misleading claims regarding the Deceptive Advertising, the Today

                Segment, and recently purchased items; and

           iii. Requiring Defendant to remove, recall, and destroy all marketing and

                advertising materials that contain the Deceptive Advertising and false

                and misleading statements about the Today Segment and recently

                purchased items.

   B. For monetary relief in the form of:

            i. Compensatory damages under 15 U.S.C. § 1117 and New York law for

                all injuries to ExpressGoldCash caused by Defendant’s acts alleged

                herein;

            ii. An award of Defendant’s profits under 15 U.S.C. § 1117 and New

                York law;

           iii. Punitive damages under New York law;

           iv. Enhanced or treble damages under 15 U.S.C. § 1117 and New York

                law;

            v. Attorney’s fees and costs under 15 U.S.C. § 1117 and New York law;

           vi. Prejudgment and post-judgment interest; and

   C. For such other and further relief as the Court deems just and proper.

                       DEMAND FOR JURY TRIAL

ExpressGoldCash hereby demands trial by jury for all issues so triable.




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DATED: July 31, 2018


                                 Respectfully submitted,


                                 s/Kamran F. Hashmi
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